On September 26, 1997, appellant, Paul D. McDonald, pleaded guilty to three counts of rape, in violation of R.C. 2907.02(A)(1)(b). On November 26, 1997, the Lake County Court of Common Pleas sentenced appellee to serve an indefinite term of incarceration of six to twenty-five years on each count. He was also adjudicated a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
Appellant timely appealed, asserting that Ohio's version of Megan's Law is unconstitutional. Pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, R.C. Chapter 2950 as applied to sexual "predators" is unconstitutional and void in its entirety; therefore, the judgment of the trial court is reversed and remanded for proceedings consistent with this opinion.
                                    _____________________ JUDGE ROBERT A. NADER
FORD, P.J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.